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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 ILDA ARAUJO, LUC HOLIE, AND JUBILEE FIRST
 AVENUE CORPORATION,
                            Plaintiffs,                             16 Civ. 9934 (PAE) (KNF)
                 -v-
                                                                              ORDER
 ERIC MACAIRE,
                                         Defendant.


PAUL A. ENGELMAYER, District Judge:

       The Court having been advised by the mediator that all claims asserted herein have been

settled in principle, it is ORDERED that the above-entitled action is hereby dismissed and

discontinued without costs, and without prejudice to the right to reopen the action within thirty

days of the date of this Order if the settlement is not consummated.

       To be clear, any application to reopen must be filed within thirty days of this Order; any

application to reopen filed thereafter may be denied solely on that basis. Further, if the parties

wish for the Court to retain jurisdiction for the purposes of enforcing any settlement agreement,

they must submit the settlement agreement to the Court within the same thirty-day period to be

“so ordered” by the Court. Per Paragraph 4(C) of the Court’s Individual Rules and Practices for

Civil Cases, unless the Court orders otherwise, the Court will not retain jurisdiction to enforce a

settlement agreement unless it is made part of the public record. Any proposed order approving

the settlement agreement that seeks the Court’s continued jurisdiction should either (1) expressly

state that the Court retains jurisdiction to enforce the agreement or (2) incorporate the terms of

the settlement agreement in the order.

       The Clerk of Court is respectfully directed to close this case.
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                                            PaJA.�
      SO ORDERED.

                                         __________________________________
                                               PAUL A. ENGELMAYER
                                               United States District Judge
Dated: October 21, 2020
       New York, New York




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